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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEW JERSEY

     In re:                                     :         Chapter 11
                                                :
     LTL MANAGEMENT LLC,                        :         Case No. 21-30589
                                                :
                            Debtor.             :         Hon. Michael B. Kaplan
                                                :

     STATEMENT OF KAZAN, McCLAIN, SATTERLEY & GREENWOOD ON BEHALF
        OF ITS CLIENTS IN THEIR INDIVIDUAL CAPACITIES IN LIEU OF ORAL
       ARGUMENT CONCERNING THE PENDING MOTION TO DISQUALIFY THE
           COURT’S RULE 706 EXPERT AND TO TERMINATE ESTIMATION

              The law firm of Kazan, McClain, Satterley & Greenwood, A Professional Law

 Corporation, and local counsel Saiber LLC, on behalf of various talc claimants, hereby submit



 1Counsel also represents Claimant Kristie Doyle, as successor in interest to decedent Daniel
 Doyle. Ms. Doyle is not included in this Statement because she is a member of the Official
 Committee of Talc Claimants.


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 this statement in lieu of oral argument in connection with the pending motion to disqualify the

 Court’s Rule 706 Expert and terminate estimation. Dkt. 3553. The Court has indicated that the

 instant motion will be decided on the papers. As such, in keeping with the practice of this Court

 to allow interested parties to present oral statements at the return of motions, having seen all of

 the pleadings regarding the instant motion, we will not have the opportunity to do so. We,

 therefore, respectfully ask the Court to accept this Statement in lieu thereof.

             1.    On December 20, 2022, Kenneth Feinberg said, “Everybody…TCC, Ovarian

 cancer and meso lawyers, the debtor… everybody has said, this no secret, they would rather

 settle this case.” Dkt. 3553-1, ¶ 27.

             2.    Joseph D. Satterley of Kazan, McClain, Satterley & Greenwood communicated

 with Mr. Feinberg and submitted information regarding Mesothelioma cases to Mr. Feinberg’s

 team.

             3.    Mr. Satterley advised Mr. Feinberg that Kazan’s Mesothelioma clients wanted a

 pass through the bankruptcy system and back to the tort system as a part of my settlement

 program.

             4.    Kazan clients want their day in court, before juries, as provided in the

 Constitution of the United States and the State of California.

             5.    At any rate, this is all an exercise in futility because Johnson & Johnson (“J&J”)

 does not really seek to resolve any Malignant Mesothelioma cases, as evidenced by their ZERO

 efforts to settle.

                                             CONCLUSION

             J&J and LTL Management, LLC have never negotiated talc/asbestos mesothelioma cases

 in good faith. Instead, they use the Bankruptcy Court to delay compensation for the victims




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 suffering from cancer. Therefore, there should be nothing to occur in this case (other than lifting

 the automatic stay for victims to have their day in court) until the Third Circuit Court of Appeals

 decides the merits of the appeal.

                                             Respectfully submitted:

                                               KAZAN, McCLAIN, SATTERLEY &
                                               GREENWOOD, A Professional Law Corporation

                                               - and -

                                               SAIBER LLC
                                               Counsel for Various Talc Claimants

                                               By:        /s/ John M. August
                                                         JOHN M. AUGUST
 DATED: January 17, 2023




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